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 5
 6   Attorney for Defendant
     JUAN SANCHEZ MEDINA
 7
 8
 9                          IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )       No. 2:09-CR-0355 FCD
                                     )
14                  Plaintiff,       )       STIPULATION AND ORDER
                                     )       CONTINUING STATUS CONFERENCE
15        v.                         )       AND EXCLUDING TIME
                                     )
16   JUAN SANCHEZ MEDINA and         )
     BENITO CANUTO GUERRERO,         )       Date: May 17, 2010
17                                   )       Time: 10:00 a.m.
                    Defendants.      )       Judge: Hon. Frank C. Damrell, Jr.
18                                   )
     _______________________________ )
19
20
21         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
22   of   America,   and    defendants,   Juan   Sanchez   Medina   and   Benito   Canuto
23   Guerrero, that the status conference scheduled for May 17, 2010, may be
24   continued to May 24, 2010, at 10:00 a.m.
25         Counsel for the government seeks additional time to review safety
26   valve proffers provided by both defendants and to review defendants’
27   proposed guidelines calculations.       So that these tasks may be completed,
28   the parties agree that time under the Speedy Trial Act should be excluded
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 1   from the date of this order through the status conference on May 24,
 2   2010, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
 3                                             Respectfully submitted,
 4                                             DANIEL J. BRODERICK
                                               Federal Defender
 5
 6   Dated:    May 13, 2010                    /s/ T. Zindel
                                               TIMOTHY ZINDEL
 7                                             Assistant Federal Defender
                                               Attorney for JUAN SANCHEZ MEDINA
 8
 9   Dated:    May 13, 2010                    /s/ T. Zindel for D. Koukol
                                               DAN KOUKOL
10                                             Attorney for BENITO CANUTO GUERRERO
11                                             BENJAMIN B. WAGNER
                                               United States Attorney
12
13   Dated:    May 13, 2010                    /s/ T. Zindel for T. Leras
                                               TODD LERAS
14                                             Assistant U.S. Attorney
15
16                                        O R D E R
17         The status conference is continued to May 24, 2010, at 10:00 a.m.
18   Time under the Speedy Trial Act is excluded through that date for the
19   reasons stated above and by agreement of the parties, the Court finding
20   that the ends of justice to be served by a continuance outweigh the best
21   interests of the defendant and the public in a speedy trial.
22         IT IS SO ORDERED.
23
24   Dated:    May 13, 2010                 _______________________________________
25                                          FRANK C. DAMRELL, JR.
                                            UNITED STATES DISTRICT JUDGE
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     Stip. & Order                             2
